Case 2:20-cv-07003-SB-PD   Document 61 Filed 03/26/21   Page 1 of 7 Page ID
                                 #:1954
Case 2:20-cv-07003-SB-PD       Document 61 Filed 03/26/21       Page 2 of 7 Page ID
                                     #:1955



      “A party may move for summary judgment, identifying each claim or
defense—or the part of each claim or defense—on which summary judgment is
sought. The court shall grant summary judgment if the movant shows that there is
no genuine dispute as to any material fact and the movant is entitled to judgment as
a matter of law.” Fed. R. Civ. P. 56(a).

       A party seeking summary judgment bears the initial burden of informing the
court of the basis for its motion and identifying those portions of the pleadings and
discovery responses that demonstrate the absence of a genuine issue of material
fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 323 (1986). If the nonmoving
party will have the burden of proof at trial, the movant can prevail by pointing out
that there is an absence of evidence to support the moving party’s case. See id. If
the moving party meets its initial burden, the nonmoving party must set forth, by
affidavit or as otherwise provided in Rule 56, “specific facts showing that there is a
genuine issue for trial.” Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

I.       DEFENDANT IS NOT ENTITLED TO SUMMARY JUDGMENT ON
         PLAINTIFF’S FIRST, SECOND, THIRD, SEVENTH, EIGHTH AND
         NINTH CLAIMS.

        Defendant first moves for summary judgment on Plaintiff’s claims for
disability discrimination under the Fair Employment and Housing Act (FEHA)
(first claim), FEHA retaliation (second claim), FEHA failure to prevent
discrimination and retaliation (third claim), and retaliation under the California
Family Rights Act (CFRA) (seventh claim) for the same reason: Plaintiff was
purportedly terminated for a legitimate, nondiscriminatory reason. MSJ 9, 13, 14,
17-18. By extension, Defendant also moves for summary judgment on Plaintiff’s
claim for declaratory relief (eighth claim) and claim for wrongful termination in
violation of public policy (ninth claim) “for the same reason that his FEHA and
CFRA claims fail.” MSJ 18-19.

      As Defendant notes, these claims are analyzed under the same three-step
framework. MSJ 7-9. “[F]irst, the plaintiff must demonstrate a prima facie case of
discrimination; second, if the plaintiff succeeds, the defendant must ‘articulate
some legitimate, nondiscriminatory reason’ for its actions; finally, if the defendant
meets its burden, the plaintiff must demonstrate ‘that the legitimate reasons offered
by the defendant were not its true reasons, but were a pretext for discrimination.’”
Dunger v. Union Pac. R.R. Co., No. CV 18-6374 PA (SSX), 2019 WL 3249606, at
*3 (C.D. Cal. June 3, 2019) (quoting Texas Dept. of Cmty. Affairs v. Burdine, 450
U.S. 248, 252-53 (1991)).

CV-90 (12/02)                  CIVIL MINUTES – GENERAL            Initials of Deputy Clerk VPC

                                           2
Case 2:20-cv-07003-SB-PD      Document 61 Filed 03/26/21       Page 3 of 7 Page ID
                                    #:1956




       In seeking summary judgment, Defendant argues that “even assuming
Plaintiff can make out a prima facie case, the facts show he was terminated for a
legitimate, non-discriminatory reason—his continued, unauthorized use of his
mobile telephone during his work shifts” in violation of both Defendant’s policies
and a written final warning. MSJ 9. Defendant notes that the governing collective
bargaining agreement identifies the “‘[r]efusal to follow either verbal or written
instructions issued by management’ as a terminable offense not requiring warnings
or notice.” Id. (quoting Def. SUF 2). Defendant concedes that, after receiving the
final warning, Plaintiff received permission “to access his mobile telephone to
confirm that his daughter made it home from school safely and check on her” but
says Plaintiff’s approved phone use was limited to a single office in the warehouse.
MSJ 5-6. Defendant claims the termination was for legitimate, non-discriminatory
reasons because “Plaintiff continued to use his mobile telephone during his shifts
for reasons other than checking on his daughter.” Def. SUF 10; see MSJ 6-7, 9-11.
Specifically, “a co-worker . . . videotaped Plaintiff using his mobile telephone
during his shift”; Defendant “showed Plaintiff the video . . . and informed him that
his employment was terminated.” MSJ 6-7.

       In response, Plaintiff offers testimony, stating that he had permission from a
supervisor, Ivan Paladines, at the time of the incident to check his phone in the
warehouse. See Pltf. SUF 18; Dkt. No. 24 (Panosian Decl., Ex. 1) at 61 (“[Ivan]
had told me that he didn’t want to be responsible for my phone. . . . And he just
told me to keep it on me, do what I need to do, and that was it because he didn’t
want me going back and forth from the office. Towards the end of the night we got
a lot busier for our position. So we had a lot more work to get done. So he didn’t
want me to have to go back and forth and waste time checking.”). This evidence
casts doubt on the conclusion that the termination here was “validly and fairly
devised and administered to serve a legitimate business purpose.” Hanson v. Lucky
Stores, Inc., 74 Cal. App. 4th 215, 224 (1999) (citation omitted). Defendant
recognizes this contrary evidence but notes that Plaintiff’s alleged permission to
use his phone came from a “a lower-level supervisor” and that “Plaintiff never
confirmed” the change in policy with the “Warehouse Manager.” MSJ 6.
Defendant, however, provides no authority or explanation for why these
distinctions are meaningful. Defendant also relies heavily on a few lines from
Plaintiff’s deposition testimony, in which Plaintiff admitted to using “his mobile
telephone during his shifts for reasons other than checking on his daughter—a
terminable offense under the Final Warning.” Reply 3-4; see Def. SUF 10; Dkt.
No. 16-3 Ex. A at 69-70 (“Q: After you stopped storing your phone in the break
room, between that period and your termination, did you use your cellphone during

CV-90 (12/02)                  CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VPC

                                           3
Case 2:20-cv-07003-SB-PD       Document 61 Filed 03/26/21        Page 4 of 7 Page ID
                                     #:1957



your shift at any time to do something other than checking on your daughter? A:
Yes, I have.”). This information, however, came out in discovery and could not
have been the basis for the termination.

       But even assuming Defendant’s evidence is enough to shift the burden back
to Plaintiff, summary judgment remains inappropriate because Plaintiff has, in
turn, provided substantial evidence on which a jury could conclude “the legitimate
reasons offered by the defendant were not its true reasons.” Dunger, 2019 WL
3249606, at *3. Plaintiffs “may establish pretext either directly by persuading the
court that a discriminatory reason more likely motivated the employer or indirectly
by showing that the employer’s proffered explanation is unworthy of credence.”
Dep’t of Fair Employment & Hous. v. Lucent Techs., Inc., 642 F.3d 728, 746 (9th
Cir. 2011).

       Plaintiff offers testimony that, a month or two before he received the final
warning about his phone use, his supervisors told him that he would be “kicked out
of [his] position” and into a less desirable, more labor intensive role if he “not stop
utilizing his FMLA” leave. Pltf. SUF 7; Panosian Decl., Ex. 1, Pl’s Depo 91:8-12,
95:20-24; 96:2-97:1. Plaintiff purportedly responded that he felt harassed for
invoking his rights and would pursue legal action if they did not stop. Id.
Moreover, Plaintiff provides testimony that supervisors responded negatively when
Plaintiff took intermittent FMLA leave up until the time Plaintiff was terminated,
saying such things as “[t]hat fucking figures,” “that is typical,” or “never fails.”
Pltf. SUF 10; see Korte v. Dollar Tree Stores, Inc., No. CIV. S-12-541 LKK, 2013
WL 2604472, at *13 (E.D. Cal. June 11, 2013) (“in evaluating FEHA claims,
courts should consider stray remarks along with all of the other evidence in the
record to determine whether the remarks ‘create an ensemble that is sufficient to
defeat summary judgment’”). As discussed, Plaintiff has provided evidence that he
actually had permission to use his phone on the warehouse floor. See Hanson, 74
Cal. App. 4th at 224 (“Pretext may be demonstrated by showing . . . the proffered
reason was insufficient to motivate discharge.”). And Plaintiff also offers a co-
worker’s declaration stating that the individual who videotaped Plaintiff, Jorge
Torres, did so because Plaintiff’s supervisor told Torres that he could avoid
discipline if he “caught Plaintiff using his cell phone and turned it in.” Pltf. SUF
39.




CV-90 (12/02)                   CIVIL MINUTES – GENERAL            Initials of Deputy Clerk VPC

                                            4
Case 2:20-cv-07003-SB-PD      Document 61 Filed 03/26/21      Page 5 of 7 Page ID
                                    #:1958



       When taken together and viewed in the light most favorable to Plaintiff, 1
this evidence creates a genuine issue of pretext. A reasonable jury—hearing about
the supervisors’ threat against taking FLSA leave, their consistent negative
comments when Plaintiff invoked his FLSA rights, and a supervisor’s affirmative
effort to catch and terminate Plaintiff for phone use after Plaintiff had received
permission to use his phone—could conclude that Defendant “did not act for the
[the asserted] non-discriminatory reasons” but that the phone use was pretext to
terminate Plaintiff for his frequent (but protected) use of FLSA leave. Hersant v.
Dep’t of Soc. Servs., 57 Cal. App. 4th 997, 1005 (1997).

       Thus, the Court DENIES Defendant’s motion for summary judgment as to
Plaintiff’s first, second, third, seventh, eighth, and ninth claims.

II.      DEFENDANT IS NOT ENTITLED TO SUMMARY JUDGMENT ON
         PLAINTIFF’S FOURTH AND FIFTH CLAIMS.

        Defendant also moves for summary judgment as to Plaintiff’s fourth and
fifth claims for failure to provide reasonable accommodation and for failure to
engage in good faith, interactive process, respectively. MSJ 14-16. These claims
are brought according to FEHA’s mandate “to make reasonable accommodation
for the known physical or mental disability of an . . . employee” Cal. Gov. Code §
12940(m), and “to engage in a timely, good faith, interactive process with the
employee or applicant to determine effective reasonable accommodations, if any,
in response to a request for reasonable accommodation by an employee or
applicant with a known physical or mental disability or known medical condition,”
id. § 12940(n).

       In general, an employer “cannot prevail on summary judgment on a claim of
failure to reasonably accommodate unless it establishes through undisputed facts
that reasonable accommodation was offered and refused, that there simply was no
vacant position within the employer’s organization for which the disabled
employee was qualified and which the disabled employee was capable of
performing with or without accommodation, or that the employer did everything in

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  Plaintiff offers additional evidence of pretext, including multiple declarations
from other workers indicating Defendant “targets employees for taking any kind of
medical leave by creating hostile work environments and retaliating against them.”
Pltf. SUF 36-49. Defendant objects to this evidence on procedural and substantive
grounds. The Court declines to rule on these objections at this time because the
motion must be denied even if the challenged evidence is excluded here.

CV-90 (12/02)                 CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VPC

                                          5
Case 2:20-cv-07003-SB-PD      Document 61 Filed 03/26/21       Page 6 of 7 Page ID
                                    #:1959



its power to find a reasonable accommodation, but the informal interactive process
broke down because the employee failed to engage in discussions in good faith.”
Taylor v. Trees, Inc., 58 F. Supp. 3d 1092, 1112 (E.D. Cal. 2014) (citation
omitted).

        Here, Defendant appears to argue for summary judgment on the theory that
it did everything in its power to provide accommodation. Defendant emphasizes
that “[d]uring his employment, [Defendant] never denied Plaintiff the opportunity
to take any medical leave he requested” and that “Plaintiff never asked for any
other accommodation for his Fibromyalgia other than leaves.” MSJ 15 (citing Def.
SUF 43-47). In particular, Defendant notes that Plaintiff received “[a]n almost two-
month leave of absence for medical issues related to his Graves’ disease and
treatment” and intermittent leave due to medical issues related to Graves’ disease
and Fibromyalgia. Reply 10.

       Though Defendant may have provided accommodations previously, the
“affirmative duty to reasonably accommodate a disabled employee . . . is a
continuing one.” Swanson v. Morongo Unified Sch. Dist., 232 Cal. App. 4th 954,
969 (2014) (internal quotations omitted). In the face of the previously discussed
dispute about whether Plaintiff was terminated for taking disability leave, the
Court cannot conclude that Defendant has sufficiently provided reasonable
accommodation to Plaintiff. Hernandez v. Rancho Santiago Cmty. Coll. Dist., 22
Cal. App. 5th 1187, 1194 (2018) (“An ‘accommodation’ that leads directly to
termination of employment is not an effective accommodation and is not
reasonable under the FEHA.”). Neither can the Court conclude that “the interactive
process was in good faith” when Plaintiff was purportedly granted leave but
ultimately fired for taking it. See id. (finding violation of section 12940(n) when
the plaintiff was “told she could not be fired for taking medical leave and she was
thereafter fired when she took the leave”).

        Thus, the Court DENIES Defendant’s motion as to Plaintiff’s fourth and
fifth claims.

III.     DEFENDANT IS GRANTED SUMMARY JUDGMENT ON
         PLAINTIFF’S SIXTH CLAIM.

      Finally, Defendant moves for summary judgment on Plaintiff’s sixth claim,
which alleges that Defendant’s actions constituted denial of, and discrimination
based on the use of, sick leave in violation of California Labor Code sections 233,
234, and 246.5. MSJ 16-17.

CV-90 (12/02)                  CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VPC

                                           6
Case 2:20-cv-07003-SB-PD         Document 61 Filed 03/26/21       Page 7 of 7 Page ID
                                       #:1960




       Though these Labor Code provisions regulate sick leave in California, there
is an exception for certain workers governed by qualifying collective bargaining
agreements. Specifically, California Labor Code section 245.5(a)(1) excludes
employees:

         covered by a valid collective bargaining agreement if the agreement
         expressly provides for the wages, hours of work, and working conditions of
         employees, and expressly provides for paid sick days or a paid leave or paid
         time off policy that permits the use of sick days for those employees, final
         and binding arbitration of disputes concerning the application of its paid sick
         days provisions, premium wage rates for all overtime hours worked, and
         regular hourly rate of pay of not less than 30 percent more than the state
         minimum wage rate.

As Defendant explains, Plaintiff’s employment was governed by a collective
bargaining agreement that fully complies with these various requirements. MSJ 16-
17 (citing Def. SUF 49, 50, 51, 52, 53). Plaintiff provides no compelling reason to
believe that this exception does not apply.2 Accordingly, there is no genuine
dispute that Plaintiff falls outside of the statute’s sick-leave protections.

         Thus, the Court GRANTS Defendant’s motion as to Plaintiff’s sixth claim.

IV.      CONCLUSION

      For these reasons, Defendant’s motion for summary judgment is
GRANTED as to Plaintiff’s sixth claim. The motion is DENIED as to all other
claims. Any evidentiary objections not addressed in this order were not considered
and are accordingly overruled as moot.

         IT IS SO ORDERED.


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  Plaintiff only disputes (with limited discussion) that this agreement “does not
provide for final and binding arbitration.” Opp. 24. Plaintiff’s argument is based on
a strained reading of the agreement. The Court agrees with Defendant that there is
“nothing in Article 14-Grievance and Arbitration Procedure of the CBA that allows
Plaintiff or Sygma to litigate claims related to the terms of the CBA, including its
sick leave provisions, outside of arbitration.” Reply 11; see Bulluck Decl. Ex. A at
17-18.

CV-90 (12/02)                     CIVIL MINUTES – GENERAL           Initials of Deputy Clerk VPC

                                              7
